     Case 3:15-cr-01612-JLS   Document 27   Filed 07/23/15   PageID.59        Page 1 of 1

                                                                           FILED
                       UNITED STATES DISTRICT COUR            I



                     SOUTHERN DISTRICT OF CALIFO                           JUL 2 B2015
                                                                     CL.K. U.S. Dl8iRI01' COURT

UNITED STATES OF AMERICA,
                                                                                       if   4
                                                                                                D..,...,
                                                                  SOUTH IAN DfSTfflct 0' CAUPoRHIA
                                                                  BY
                                            CASE NO. 15CR1612-JLS

                       Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
YESENIA MIRANDA-CANO,

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

    an indictment has been   led in another case against the defendant and
    the Court has granted the motion of the Government for dismissal of
    this case, without prejudice: or

     the Court has dismissed the case for unnecessary delay; or

~   the Court has granted the motion of the Government for dismissal,
    without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

~    of the offense{s) as charged in the Information:

     21 USC 952 AND 960 - Importation of Cocaine and Methamphetamine;

     18 USC 2 - AIDING AND ABETTING

          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: 7/23/15


                                                   Magistrate Judge
